  Case 3:17-cv-01781-HZ APPENDIX A ‐ SEIRUS' SIXTH AMENDED TRIAL EXHIBIT LIST
                         Document 312-1 Filed 09/18/17 PageID.12975 Page 1 of 28




                             UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTHERN CALIFORNIA



          COLUMBIA SPORTSWEAR NORTH
          AMERICA, INC., an Oregon Corporation                                Case No. 3:17-cv-01781

                             Plaintiff,
                  vs.                                                               APPENDIX A


          SEIRUS INNOVATIVE ACCESSORIES,                                    SEIRUS' SIXTH AMENDED
          INC., a Utah Corporation,                                              EXHIBIT LIST

                             Defendant.


Exhibit
                          Description                         Bates No.    Marked    Offered     Received
 No.

           Defendant Serius Innovative Accessories,
 1000      Inc.s Notice of Deposition Pursuant to                N/A
           Fed.R.CIV.P.30(B)(6)

           Columbia Sportswear’s Non Claim
 1001                                                            N/A
           Construction Witness Disclosure

           Plaintiff Columbia Sportswear’s Rule
 1002                                                            N/A
           12(a)(1) Initial Disclosures

           March 8, 2016 letter regarding Columbia
 1003                                                            N/A
           document preservation

 1004      Summary of Heat-Coverage patterns                  COL001589


           Patent Marking – List of design patents
                                                              COL027931-
 1005      related to Omni-Heat Reflective and Omni-          COL027951
           Freeze Zero


           Inventory of Samples Received Pursuant to
 1006      First, Second and Third Sets of Requests for          N/A
           Production. Revised: 2/4/2016




                                                          1
  Case 3:17-cv-01781-HZ APPENDIX A ‐ SEIRUS' SIXTH AMENDED TRIAL EXHIBIT LIST
                         Document 312-1 Filed 09/18/17 PageID.12976 Page 2 of 28


Exhibit
                         Description                       Bates No.    Marked   Offered   Received
 No.


          Complaint for Patent Infringement,
          Copyright Infringement, Trade Dress
          Infringement , Unfair Competition, False
 1007                                                         N/A
          Designation of Origin, and Deceptive Trade
          Practices in Columbia Sportswear North
          America v. Team Ortho Foundation, Inc.

          Blowup of Color Image depicting Omni-
 1008                                                         N/A
          Heat logo

 1009     March 3, 2016 letter from Aldrich to Shah           N/A


                                                           COL041674-
 1010     Licensing Contract Initialization Sheet          COL041730

          Patent License Agreement between
                                                           COL042127-
 1011     Columbia Sportswear company and Nike,            COL042144
          Inc.
          Website product sheets for “Hurley Phantom
 1012                                                         N/A
          202 Women's Fullsuit”

          Website product sheets for “Hurley Phantom
 1013                                                         N/A
          202 Men's Fullsuit”

 1014     Exhibit Not Used                                    N/A


 1015     Proceeding Queries dated 2-10-2016               COL042018


                                                           COL042019-
 1016     Proceeding Queries dated 2-10-2016               COL042023

          September 15, 2014 letter from Columbia
                                                           COL041941-
 1017     regarding Sleeping Bag at Outdoor Retailer       COL041942
          Show

 1018     United States Patent 8,424,119 B2                   N/A


 1019     United States Patent 8,453,270 B2                   N/A


 1020     United States Patent D657,093 S                     N/A


 1021     United States Patent 8,479,322 B2                   N/A


 1022     International Patent WO 2010/129923 A2              N/A



                                                       2
  Case 3:17-cv-01781-HZ APPENDIX A ‐ SEIRUS' SIXTH AMENDED TRIAL EXHIBIT LIST
                         Document 312-1 Filed 09/18/17 PageID.12977 Page 3 of 28


Exhibit
                          Description                         Bates No.    Marked   Offered   Received
 No.

          Notice of Deposition of Columbia
 1023     Sportswear North America, Inc. Pursuant to             N/A
          Fed.R.Civ.P.30(B)(6)

          Notice of Deposition of Michael E.
 1024                                                            N/A
          Blackford
                                                              COL004405-
 1025     Photographs                                         COL004407

          August 2, 2013 article titled Cooler than
 1026                                                            N/A
          Naked

          October 16, 2012 Portland Monthly article
 1027     titled The Man Reinventing Columbia                    N/A
          Sportswear

          FeedTheHabit.com website depicting
                                                              COL000599-
 1028     Castelli Insolito Radiation Jacket – 3 Season       COL000603
          Cycling Jacket

 1029     Web pages depicting Hurley Wetsuit                     N/A


          December 9, 2011 SNews article titled
 1030     Columbia Launches Newest Omnit                         N/A
          Technology

          November 1, 2013 email transmitting Heart           COL001525-
 1031                                                         COL001527
          PR Communications

          Complaint in Innovative Sports Inc. v.
 1032                                                            N/A
          Columbia Sportswear Company et al.

          March 27, 2012 Portland Business Journal
          article titled Eugene Company Sues
 1033                                                            N/A
          Columbia Sportswear Over Heated Clothing
          Technology

          Agreement to Dismiss Claims between
 1034     Innovative Sportswear and Columbia                     N/A
          Sportswear

          Photo depicting glove bearing Bates No.
 1035                                                            N/A
          COL030683




                                                          3
  Case 3:17-cv-01781-HZ APPENDIX A ‐ SEIRUS' SIXTH AMENDED TRIAL EXHIBIT LIST
                         Document 312-1 Filed 09/18/17 PageID.12978 Page 4 of 28


Exhibit
                         Description                      Bates No.    Marked   Offered   Received
 No.

          Photo depicting hat bearing Bates No.
 1036                                                        N/A
          COL030685

          October 17, 2008 Email string regarding
 1037                                                        N/A
          Update from my Asia trip

 1038     Advertisement for Milium                           N/A


          September 1, 2009 letter from Washpat LLC       COL001590-
 1039                                                     COL001639
          to Schwabe

          UK Patent Application GB 2,073.613 A to
 1040                                                        N/A
          Fottinger

 1041     Documents relating to SuperFabric                  N/A


          November 12, 2009 Wind River Branding
 1042                                                     COL008120
          invoice for patent drawings

          Declaration of Woody Blackford
 1043                                                        N/A
          Pursuant to 37 CFR 1.132

                                                          COL031516-
 1044     Omni-Heat Test Results                          COL031519

                                                          COL030704-
 1045     Omni-Heat Testing Documentation                 COL030709

          Columbia Testing Data represented as
 1046                                                        N/A
          bearing Bates No. COL031136

          April 16, 2012 Test Report prepared by          COL031513-
 1047                                                     COL031515
          Intertek
                                                          COL031183-
 1048     Testing Data                                    COL031185


 1049     Subpoena to Zach Snyder                            N/A


 1050     LinkedIn Printout for Zach Snyder                  N/A


 1051     Zach Snyder Declaration                            N/A




                                                      4
  Case 3:17-cv-01781-HZ APPENDIX A ‐ SEIRUS' SIXTH AMENDED TRIAL EXHIBIT LIST
                         Document 312-1 Filed 09/18/17 PageID.12979 Page 5 of 28


Exhibit
                           Description                          Bates No.    Marked   Offered   Received
 No.

          Plaintiff Columbia Sportswear North
          America, Inc.’s Supplemental Responses to
 1052     Defendant Seirus Innovative Accessories,                 N/A
          Inc.s First Set of Interrogatories to Plaintiff
           (1-15)

          Columbia Sportswear Design Patent                     COL001530-
 1053                                                           COL001527
          Countries

 1054     Patent US D650,529 S                                     N/A


 1055     Patent US D670,435 S                                     N/A


 1056     Exhibit Not Used

 1057     Patent US D651,352 S                                     N/A


 1058     Patent US D653,400 S                                     N/A


 1059     Patent US D655,921 S                                     N/A


 1060     Patent US D656,741 S                                     N/A


 1061     Patent US 8,453,270 B2                                   N/A


          Information Disclosure Statement by                   COL000053-
 1062                                                           COL000055
          Applicant
                                                                COL000067-
 1063     Japanese Patent No. 63-125525                         COL000069

                                                                COL000022-
 1064     CSW-173569 and Handwritten Notes                      COL000023


 1065     Collection of emails                                    various


                                                                ZACHS001-
 1066     Email string with attachment                          ZACHS008


 1067     Notice of 30(B)(6) Deposition                            N/A


 1068     Facebook Page for Jim Drozdowski                         N/A




                                                            5
  Case 3:17-cv-01781-HZ APPENDIX A ‐ SEIRUS' SIXTH AMENDED TRIAL EXHIBIT LIST
                         Document 312-1 Filed 09/18/17 PageID.12980 Page 6 of 28


Exhibit
                          Description                       Bates No.    Marked   Offered   Received
 No.
                                                            COL072238-
 1069     Columbia Sales Spreadsheet                        COL072240


 1070     List of Columbia Products                            N/A


          2015 Columbia Sportswear Company
 1071                                                          N/A
          Annual Report to Shareholders

 1072     Report reflecting product sales                   COL073869


 1073     Sales Report                                      COL073870


 1074     Spreadsheet Pt. 1                                 COL073871


 1075     Spreadsheet Pt. 2                                 COL073871


          License Agreement between Columbia
                                                            COL041833-
 1076     Sportswear North America and Delta Galil          COL041897
          USA

          First Amendment to agreement between
 1077     Columbia Sportswear North America and             COL041673
          Delta Galil USA

          Retail License Agreement effective 6/1/12
                                                            COL041731-
 1078     between Columbia Sportswear North                 COL041773
          America and Outdoor Custom Sportswear


          Licensing Contract Initialization Sheet for       COL041936-
 1079                                                       COL041940
          Outdoor Custom Sportswear 1st Amendment


          Licensing Contract Initialization Sheet for
                                                            COL041774-
 1080     The Outdoor Recreation Group licensing            COL041829
          agreement (CSC Equipment)

          Messaging and Q&A - Document
                                                            COL080321-
 1081     Manchester United x Columbia Sportswear –         COL080323
          Draft v1 – Jan. 19, 2016


          February 9, 2016 email from Smith to
                                                            COL080975-
 1082     Merriman regarding Licensing Presentation         COL081027
          – Full version updated 2.8.16



                                                        6
  Case 3:17-cv-01781-HZ APPENDIX A ‐ SEIRUS' SIXTH AMENDED TRIAL EXHIBIT LIST
                         Document 312-1 Filed 09/18/17 PageID.12981 Page 7 of 28


Exhibit
                          Description                          Bates No.        Marked   Offered   Received
 No.


          May 11, 2016 Web page entitled Outdry –
 1083                                                             N/A
          Water non included – Partners


 1084     LinkedIn page for Scott Trepanier                       N/A



 1085     List of Subsidiaries                                    N/A


          Complaint for Patent Infringement dated
 1086                                                             N/A
          1/12/2015

          Plaintiff Columbia Sportswear’s First
 1087                                                             N/A
          Amended Rule 26(a)(1) Disclosures


          Ex. A (list of products) to Plaintiff Columbia
          Sportswear North America, Inc.’s
 1088     Supplemental Responses to Defendant                     N/A
          Seirus Innovative Accessories, Inc.s First Set
          of Interrogatories to Plaintiff (1-15)


          Plaintiff’s Responses to Defendant’s Second
 1089                                                             N/A
          Set of Interrogatories to Plaintiff

          April 11, 2016 email from Adrich to
 1090     Columbia counsel regarding 30(b)(6)                     N/A
          testimony

          Retail Brand Marketing – F11 Advertising             COL034051-
 1091                                                          COL034068
          Needs
                                                              SEIRUS-PA-
 1092     SuperFabric press release                        00000281 – SEIRUS-
                                                              PA-00000287

          November 15, 2013 Columbia Fall 2013-                COL034124-
 1093                                                          COL034180
          Out of Home Proof of Performance

          Fall 2010 – Omni-Heat Trade Media                    COL035753-
 1094                                                          COL035756
          Preview, PR Strategy and Plan

                                                               COL035791-
 1095     January 2010 ShotDaily article                       COL035794

                                                               COL034200-
 1096     Documents related to TurboDown                       COL034209




                                                           7
  Case 3:17-cv-01781-HZ APPENDIX A ‐ SEIRUS' SIXTH AMENDED TRIAL EXHIBIT LIST
                         Document 312-1 Filed 09/18/17 PageID.12982 Page 8 of 28


Exhibit
                         Description                          Bates No.       Marked   Offered   Received
 No.
          December 13, 2010 Columbia Omni-Heat                COL035703-
 1097                                                         COL035725
          Field Test Results

 1098     Exclusive preview for Poplar Science                COL035803


                                                              COL035848-
 1099     November 11, 2009 Barclays Capital report           COL035850

                                                              COL033702-
 1100     Omni-Heat Rude Q&A-1.12.10-Revised                  COL0033708

          October 14, 2009 email string from
 1101     Blackford to Gosse regarding Omni-Heal              COL071850
          lining

          April 26, 2010 email string from Blackford
 1102                                                         COL072231
          to Boyle regarding Omni heat dots

          Pitch Document, Fall 2012, Columbia’s               COL033685-
 1103                                                         COL033688
          Zonal Strategy

          Expert Report of Serena Morones dated June
 1104
          30, 2016

          Seirus Innovation Profit and Loss Statement       SEIRUS00061299-
 1105                                                       SEIRUS00061328
          from 10/1/2014 to 09/30/2015

          Forensic & Valuation Services Practice Aid
 1106     – Calculating Intellectual Property                    N/A
          Infringement Damages

 1107     Notice of Deposition of Serena Morones                 N/A


 1108     Notice of Deposition of Cole                           N/A


 1109     LinkedIn Printout for Dr. Cole                         N/A


          SC Secretary of State Printout for
 1110     Revolutionary Fiber and Textiles Institute             N/A
          for Manufacturing Innovation

 1111     CURF Printout – Dr. Cole Bio                           N/A


 1112     CURF Printout – Breathable, Insulative Vest            N/A


          CURF Printout – Microclimate Regulating
 1113                                                            N/A
          Vest


                                                        8
  Case 3:17-cv-01781-HZ APPENDIX A ‐ SEIRUS' SIXTH AMENDED TRIAL EXHIBIT LIST
                         Document 312-1 Filed 09/18/17 PageID.12983 Page 9 of 28


Exhibit
                         Description                      Bates No.   Marked   Offered   Received
 No.

 1114     Clemson Patents                                   N/A


 1115     Patent US 7,160,612 B2 to Magill                  N/A


 1116     Patent US 2002/0197924 A1 to Halley               N/A


          Opening Report of Dr. Christine Cole
 1117                                                       N/A
          Concerning Infringement

          Rebuttal Report of Dr. Christine Cole
 1118                                                       N/A
          Concerning Validity

 1119     Patent US 2007/0173154 A1 to Hartmann             N/A


 1120     International Patent WO 02/059414 A2              N/A


 1121     Patent US 2,695,895 to Barnard                    N/A


          UK Patent Application GB 2,073.613 A to
 1122                                                       N/A
          Fottinger

 1123     U.S. Patent No. 5,626,949 to Blauer               N/A


 1124     Patent US 2006/0179539 A1 to Harber               N/A


          UK Patent Application GB 2,350,073 A to
 1125                                                       N/A
          Vaughn

 1126     Patent US 7,135,424 B2 to Worley                  N/A


 1127     U.S. Patent No. 2,630,573 to Rand                 N/A


 1128     UK Patent GB 741,875 to Rand                      N/A


          International Patent WO 2008/103989 A1 to
 1129                                                       N/A
          Kim (SuperFabric)

 1130     Patent US 2008/0282455 A1 to Jones                N/A


 1131     Binder – Summary of Percent Coverage              N/A




                                                      9
 Case 3:17-cv-01781-HZ Document       312-1 Filed 09/18/17 PageID.12984 Page 10 of 28
                       APPENDIX A ‐ SEIRUS' SIXTH AMENDED TRIAL EXHIBIT LIST



Exhibit
                          Description                             Bates No.      Marked   Offered   Received
 No.
                                                                 COL118091-
 1132     Collection of photos                                   COL118091

          August 16, 2017 Precision Testing
 1133                                                             COL117869
          Laboratory Report

          October 19, 2015 Columbia Response to
 1134     Seirus 1st Interrogatories (1-15) with Exhibit             N/A
          A

          January 11, 2016 Columbia ‘s Response to
 1135                                                                N/A
          Seirus’ 2nd Interrogatories (16-17)

          February 1, 2016 Columbia’s Response to
 1136                                                                N/A
          Seirus’ 3rd Interrogatories (18)

          May 27, 2016 Columbia’s Supplemental
          Response to Seirus’1st, 2nd, 3rd, and
 1137                                                                N/A
          Objections to 4th Rogs
          (w_ Amended Ex)

          May 27, 2016 Columbia’s Response to
 1138     Seirus’ 1st RFA                                            N/A
          (1-160)

          March 23, 2016 Columbia’s First Amended
 1139                                                                N/A
          Rule 26(a)(1) Disclosures

          September 11, 2015 Columbia’s
 1140                                                                N/A
          Infringement Contentions

          October 17, 2015 Columbia’s First Amended
 1141     Disclosures of Asserted Claims &                           N/A
          Infringement Contentions

          November 3, 2015 Seirus Invalidity
 1142                                                                N/A
          Contentions

 1143     Heatwave Products                                     SEIRUS00063688


 1144     Report Date 9/1/2015-2/28/2017                        SEIRUS00063689


          December 4, 2013 letter from Newman to
 1145                                                                N/A
          Carey




                                                           10
 Case 3:17-cv-01781-HZ Document       312-1 Filed 09/18/17 PageID.12985 Page 11 of 28
                       APPENDIX A ‐ SEIRUS' SIXTH AMENDED TRIAL EXHIBIT LIST



Exhibit
                         Description                          Bates No.   Marked   Offered   Received
 No.

          Corrected Rebuttal Expert Report of
 1146                                                           N/A
          Carrie L. Distler

 1147     Ira Block Validity Report                             N/A


          Prosecution File History for the U.S. Patent
 1148                                                           N/A
          No. 8,424,119

          Prosecution File History for the U.S. Patent
 1149                                                           N/A
          No. 8,453,270

          Joint Claim Construction and Prehearing
 1150                                                           N/A
          Statement

          KSR International Co. v. Teleflex Inc.,
 1151                                                           N/A
          550 U.S. 398 (2007)

          Deering, Milliken & Co. v. Temp-Resisto
 1152     Corp.,                                                N/A
          274 F.2d 626 (2d Cir.1960)

 1153     US Patent No. 4,622,253                               N/A


 1154     International Patent 1995/010569                      N/A


          Response by Defendant Ventex Inc., Korean
          IPT Nullification of Registration (Patent)
 1155     proceeding against Plaintiff Columbia                 N/A
          Sportswear North America, Inc.
          (Nov. 21, 2014)

 1156     Ogulata - Air Permeability of Woven Fabrics           N/A


          Block Comparison of Columbia New Claim
 1157                                                           N/A
          Set

 1158     Lawrence - Studies of Fabric Permeability             N/A


          Textile Engineering Fabric Comfort
 1159                                                           N/A
          Presentation

 1160     Epps and Leonas Article                               N/A


 1161     Expert Rebuttal Report of Ira Block                   N/A




                                                         11
 Case 3:17-cv-01781-HZ Document       312-1 Filed 09/18/17 PageID.12986 Page 12 of 28
                       APPENDIX A ‐ SEIRUS' SIXTH AMENDED TRIAL EXHIBIT LIST



Exhibit
                            Description                             Bates No.   Marked   Offered   Received
 No.

          S. Bell, A Beginner's Guide to Uncertainty
          of Measurement, NPL,
 1162     https://www.wmo.int/pages/prog/gcos/documents/gr            N/A
          uanmanuals/UK_NPL/mgpg11.pdf (last visited
          August 9, 2016)


 1163     Ira Block CV 06-2016                                        N/A


          W. Volk, “Applied Statistics for Engineers,”
 1164                                                                 N/A
          McGraw-Hill, 1958

          American Association of Textile Chemists
          and Colorists (AATCC) Technical Manual
 1165                                                                 N/A
          Method 93-2005 “Abrasion Resistance of
          Fabrics; Accelerator Method”



          Zoot WRKS XOtherm Jacket,
 1166     http://university.tri-sports.com/2010/11/04/zoot-           N/A
          wrks-xotherm-jacket/ (last visited August 9, 2016)



          AATCC Technical Manual Method 135-
 1167     2004 “Dimensional Changes of Fabrics after                  N/A
          Home Laundering”


 1168     Worley Prosecution History                                  N/A


 1169     Halley Prosecution History                                  N/A


 1170     Harber Prosecution History                                  N/A


 1171     Hartmann Prosecution History                                N/A


 1172     Markman Order                                               N/A


          IPR2017-00651 by Ventex 1-11-2017 (119
 1173                                                                 N/A
          Patent)
          IPR2017-00789 by Ventex 1-27-2017 (270
 1174                                                                 N/A
          Patent)

 1175     Decision in IPR 2017-00789 (270 Patent)                     N/A




                                                               12
 Case 3:17-cv-01781-HZ Document       312-1 Filed 09/18/17 PageID.12987 Page 13 of 28
                       APPENDIX A ‐ SEIRUS' SIXTH AMENDED TRIAL EXHIBIT LIST



Exhibit
                          Description                         Bates No.      Marked   Offered   Received
 No.

 1176     Decision in IPR2017-00651 (119 Patent)                 N/A



          December 12, 2014 Supreme court Judgment
          granting Dismissal in Columbia Sportswear
 1177     north America Inc. v VenTex Inc. (includes             N/A
          original Judgment in Korean and certified
          English translation)

          Regulate – Definition and More from the
 1178     Free Merriam-Webster Dictionary (12-15-                N/A
          15)

 1179     Omni-Heat Rude Q&A – 10.16.09                       COL033697


 1180     Cost sheet                                          COL041955


 1181     Bill of materials                                   COL041969


          May 5, 2010 email string from Blackford to
 1182                                                         COL072239
          Mergy regarding Omni Heat Socks

 1183     Sales Spreadsheet                                   COL073872


 1184     Sales Spreadsheet                                   COL073873


 1185     Licensing Brochure                                  COL080976


 1186     Columbia Brand Tracker 2013-2014                    COL106885



          Omni-Heat Advanced Reflective Consumer
 1187                                                         COL106933
          Research - June 24, 2012


          Omni-Heat Reflective Messaging
 1188                                                         COL106962
          Exploration - September 8, 2011

 1189     Retail and Wholesale spreadsheet                    COL117714


 1190     Seirus Catalog 2011-2012                          SEIRUS00002672


 1191     Seirus Catalog 2012-2013                          SEIRUS00002776




                                                       13
 Case 3:17-cv-01781-HZ Document       312-1 Filed 09/18/17 PageID.12988 Page 14 of 28
                       APPENDIX A ‐ SEIRUS' SIXTH AMENDED TRIAL EXHIBIT LIST



Exhibit
                         Description                           Bates No.      Marked   Offered   Received
 No.

 1192     Seirus Catalog 2013-2014                           SEIRUS00002912


 1193     Seirus Catalog 2014-2015                           SEIRUS00003044


 1194     Seirus Catalog Winter 15-16                        SEIRUS00003152


 1195     Seirus Catalog – Cold Weather Essentials           SEIRUS00003264


          Seirus Catalog –Workwear/Hunting 2013-
 1196                                                        SEIRUS00003304
          2014
          Seirus Catalog –Workwear/Hunting 2014-
 1197                                                        SEIRUS00003352
          2015
          Seirus Catalog –Workwear/Hunting 2015-
 1198                                                        SEIRUS00003396
          2016

 1199     2016 Ski Gloves 7/14/2015                          SEIRUS00008776


 1200     Mega Heat                                          SEIRUS00011413


          Heatwave Sales Report by Fiscal Year
 1201                                                        SEIRUS00061246
          10/1/2013-5/1/2016

          Seirus Innovation Profit and Loss Statement
 1202                                                        SEIRUS00061275
          from 10/1/2013 to 09/30/2014

          Seirus Innovation Profit and Loss Statement
 1203                                                        SEIRUS00061329
          from 10/1/2015 to 09/30/2016

          Bates Stamped Documents Considered by
 1204                                                            Various
          Carrie L. Distler

          Picture of HLT-5733 Heatwave 2-way Base
 1205                                                        SEIRUS00011441
          materials

          Picture of HLT-5733-Rx Heatwave 2-way
 1206                                                        SEIRUS00011442
          with foil

          Picture of HOT-5733 Heatwave 2-way Base
 1207                                                        SEIRUS00011443
          materials

          Picture of HLT-6610-R Heatwave 4-way
 1208                                                        SEIRUS00011444
          Base Material

          Columbia Response to Seirus 5th RFP
 1209                                                             N/A
          (79-102)


                                                        14
 Case 3:17-cv-01781-HZ Document       312-1 Filed 09/18/17 PageID.12989 Page 15 of 28
                       APPENDIX A ‐ SEIRUS' SIXTH AMENDED TRIAL EXHIBIT LIST



Exhibit
                         Description                        Bates No.   Marked   Offered   Received
 No.

 1210     Columbia 1st RFAs to Seirus (1-26)                  N/A


          2016-04-22 Columbia 3rd RFPs to Seirus
 1211                                                         N/A
          (85-93)

          2016-04-22 Columbia 5th ROGs to Seirus
 1212                                                         N/A
          (18-20)

          Columbia's Motion for Partial Summary
 1213                                                         N/A
          Judgment of No Validity 2016.09.30

 1214     Seirus's Opposition to Columbia's MSJ               N/A


          2016-11-10 DKT 126 Columbia's Reply to
 1215                                                         N/A
          MSJ

          Prosecution History for U.S. Patent No.
 1216                                                         N/A
          5,626,949 to Blauer

          Prosecution History for U.S. Patent No.
 1217                                                         N/A
          2,630,573 to Rand

 1218     USPN 4,316,931 (Fottinger II)                       N/A


          Block Declaration re Seirus Claim
 1219                                                         N/A
          Construction Brief

          Cole Declaration re Plaintiffs Response to
 1220                                                         N/A
          Seirus’ Opening Claim Constructive Brief.

          Seirus 1st Request for Production to
 1221                                                         N/A
          Columbia (1-61)

          Columbia First Amended Disclosure of
 1222     Asserted Claims and Infringement                    N/A
          Contentions

          March 11, 2016 Seirus letter to Aldrich
 1223                                                         N/A
          regarding damages

          May 20, 2016 Letter from N. Aldrich to A.
 1224                                                         N/A
          Shah re Licensing Docs

 1225     DamagesinfoCarrieD                                  N/A




                                                       15
 Case 3:17-cv-01781-HZ Document       312-1 Filed 09/18/17 PageID.12990 Page 16 of 28
                       APPENDIX A ‐ SEIRUS' SIXTH AMENDED TRIAL EXHIBIT LIST



Exhibit
                         Description                         Bates No.      Marked   Offered   Received
 No.

          Murphey email to Devon Newman sent on
 1226                                                           N/A
          Wed. Jan. 8, 2014 at 8:21 PM

 1227     Production Instructions                              Various


          Murphey response on January 13, 2014 at
 1228                                                           N/A
          3:15 PM

 1229     Murphey response at 655 PM                            N/A


          Devon’s email dated April 1, 2014 sent at
 1230                                                           N/A
          5:17 PM
          Devon’s response on January 16, 2014 sent
 1231                                                           N/A
          at 11:52 AM
          Murphey email to Devon dated June 9, 2014
 1232                                                           N/A
          at 8:48 PM

 1233     Exhibit Not Used                                      N/A


 1234     Exhibit Not Used                                      N/A


 1235     Exhibit Not Used                                      N/A


 1236     Seirus Ski Catalog_05_06                         SEIRUS00002349


 1237     Seirus HWS Catalog_15_16                         SEIRUS00003396


 1238     Seirus HWS Catalog_13_14                         SEIRUS00003304


 1239     Seirus SpringSummer Catalog_2012                 SEIRUS00003448


 1240     Seirus HWS Catalog_2011                          SEIRUS00003272


 1241     Seirus Ski Catalog_08_09                         SEIRUS00002445


 1242     Seirus Ski Catalog_06_07                         SEIRUS00002385


 1243     Seirus Ski Catalog_10_11                         SEIRUS00002584


 1244     Seirus Ski Catalog_14_15                         SEIRUS00003044




                                                      16
 Case 3:17-cv-01781-HZ Document       312-1 Filed 09/18/17 PageID.12991 Page 17 of 28
                       APPENDIX A ‐ SEIRUS' SIXTH AMENDED TRIAL EXHIBIT LIST



Exhibit
                        Description                         Bates No.      Marked   Offered   Received
 No.

 1245     Seirus HWS Catalog_2012                         SEIRUS00003284


 1246     Seirus Ski Catalog_12_13                        SEIRUS00002776


 1247     Seirus Ski Catalog_11_12                        SEIRUS00002672


 1248     Seirus Ski Catalog_13_14                        SEIRUS00002912


 1249     Seirus Ski Catalog_15_16                        SEIRUS00003152


 1250     Seirus Ski Catalog_09_10                        SEIRUS00002513


 1251     Seirus HWS Catalog_2010                         SEIRUS00003264


 1252     Seirus HWS Catalog_14_15                        SEIRUS00003352


 1253     Seirus Ski Catalog_05_06                        SEIRUS00002349


 1254     Seirus HWS Catalog_15_16                        SEIRUS00003396


 1255     Dicks Meeting Notes 8.24.12                     SEIRUS00004866


 1256     2013 Dicks Meeting Notes 10.29.13               SEIRUS00004867


 1257     2015 Dick's Meeting Notes 2-2-15                SEIRUS00004869


 1258     2015 Dick's Meeting Notes 1-9-15                SEIRUS00004870


 1259     Dicks Meeting Notes 12.14.12                    SEIRUS00004873


 1260     2013 Dicks Meeting Notes 6.27.13                SEIRUS00004874


 1261     2013 Dicks Preline Meeting Notes 11.2.12        SEIRUS00004875


 1262     2013 SSV Pre-Line Note 11-08-12                 SEIRUS00004913


 1263     BIG 5 Meeting Notes 2.25.13                     SEIRUS00005042




                                                     17
 Case 3:17-cv-01781-HZ Document       312-1 Filed 09/18/17 PageID.12992 Page 18 of 28
                       APPENDIX A ‐ SEIRUS' SIXTH AMENDED TRIAL EXHIBIT LIST



Exhibit
                        Description                       Bates No.      Marked   Offered   Received
 No.

 1264     Scheel's Meeting Notes 11-07-11               SEIRUS00005088


 1265     2013 Scheels Meeting Notes 12-12-127          SEIRUS00005089


 1266     2015 TSA Meeting Notes 2-23-15                SEIRUS00005098


          2014 RCI Preline Meeting Recap
 1267                                                   SEIRUS00005244
          12-17-14

          15-16 Academy Preline Meeting Notes
 1268                                                   SEIRUS00005614
          12-5-14
          2013 Academy Preline Meeting Notes
 1269                                                   SEIRUS00005615
          12-12-12

 1270     2015 Gander Meeting Notes 12-11-14            SEIRUS00005674


 1271     REI Meeting Notes 8-11-14                     SEIRUS00005837


 1272     2014 REI Preline Meeting Notes11.19.13        SEIRUS00005838


 1273     13-14 REI Meeting Notes 10-19-12              SEIRUS00005839


 1274     REI Meeting Notes 11-16-11                    SEIRUS00005840


 1275     Dick'sPreLineMeetingNotes10-14                SEIRUS00006041


 1276     Copy of Dicks 11 2 12 Meeting Recap           SEIRUS00006221


          2013 EMS Pre-Line Meeting
 1277                                                   SEIRUS00006347
          Recap_20121025
          Dick's Pre Line Meeting Notes 10-14
 1278                                                   SEIRUS00006535
          (version 1)

 1279     Gander Mtn Meeting Recap_20111122             SEIRUS00017213


          2013 Intrawest Pre-Line Meeting
 1280                                                   SEIRUS00020661
          Recap_20121108

 1281     2013 TSA Preline Meeting Recap_20121109       SEIRUS00020663


 1282     Scheels Meeting Notes_2014.12.02 v2           SEIRUS00022224




                                                   18
 Case 3:17-cv-01781-HZ Document       312-1 Filed 09/18/17 PageID.12993 Page 19 of 28
                       APPENDIX A ‐ SEIRUS' SIXTH AMENDED TRIAL EXHIBIT LIST



Exhibit
                            Description                               Bates No.      Marked   Offered   Received
 No.
          Sears 3-5-15Meeting Recap Face & Hat
 1283                                                               SEIRUS00022328
          3.9.15
          Complaint for Patent Infringement, Unfair
          Competition, And Breach of Contract, Case
                                                                SEIRUS00063691-
 1284     No. 3:17-cv-00623, Columbia Sportswear v.                  727
          Ventex Co., Ltd., and Dan Meyer, filed April
          20, 2017

 1285     Exhibit Not Used

          Cycle World 12/26/2013 Press Release:
          Harley-Davidson MotorClothes Thermal
          Reflective Technology Jackets, available at           SEIRUS00063729-
 1286     url:                                                        34
          http://www.cycleworld.com/2013/12/26/harley‐davi
          dson‐motorclothes‐thermal‐reflective‐technology‐ja
          ckets


 1287     Dravitex Brochure                                         SEIRUS00063735



          Athleta.gap.com online catalog page for Full
          Speed Jacket with Mega-Heat RX, captured
          August 10, 2017, available at url:
          http://athleta.gap.com/browse/product.do?pid=242873002&C SEIRUS00063736-
 1288     AWELAID=120299870000020219&CAGPSPN=pla&CAAGI                   42
          D=48954761268&CATCI=aud-337312001673:pla-
          61561028216&tid=atpl000007&kwid=1&ap=7&gclid=EAIaI
          QobChMIpqTgvvHN1QIVXQYqCh2cJAimEAQYBCABEgJl
          C_D_BwE


          Front photo of Nike Pro shirt with reflective
 1289                                                               SEIRUS00063743
          outer fabric
          Back photo of Nike Pro shirt with reflective
 1290                                                               SEIRUS00063744
          outer fabric

          Photo of inside heat reflective liner of Harley
 1291                                                               SEIRUS00063745
          Davidson FXRG Jacket

          Photo of heat reflective liner of Harley
 1292                                                               SEIRUS00063746
          Davidson FXRG Jacket showing tags

          Close up Photo of Harley Davidson FXRG
 1293                                                               SEIRUS00063747
          Jacket Sales Tags

          Close up Photo of Harley Davidson FXRG
 1294                                                               SEIRUS00063748
          Jacket Sales Tags - Heat Retention Lining



                                                               19
 Case 3:17-cv-01781-HZ Document       312-1 Filed 09/18/17 PageID.12994 Page 20 of 28
                       APPENDIX A ‐ SEIRUS' SIXTH AMENDED TRIAL EXHIBIT LIST



Exhibit
                            Description                                Bates No.     Marked   Offered   Received
 No.

          Harley-Davidson.com official online store
          page listing Men's FXRG Replacement
 1295     Warmth Liner [FXRG], captured August                     SEIRUS00063749-
          9/2017, at url: https://www.harley-                            50
          davidson.com/store/fxrg%C2%AE-replacement-
          warmth-liner


          Columbia Sportswear 9/22/2010 Press
          Release: Columbia Sportswear Launches
 1296     New Omni-Heat Warmth Technology with                     SEIRUS00063751-
          Global Marketing Campaign, available at                        53
          http://www.columbia.com/About-Us_Press_Center-
          Release_2010_09_22.html


          Chain of e-mail correspondence from
          perry@sanki.com.hk to Anna McDonald
                                                                   SEIRUS00063754-
 1297     (annam@seirus.com) discussing Dravitex,                        62
          attaching Dravitex information. dated March-
          May 2008.

          Gearjunkie.com online catalog page for
          Castelli Insolito Radiation Jacket, captured             SEIRUS00063763-
 1298     August 13, 2017, available at url:                             65
          https://gearjunkie.com/gear-review-castelli-insolito-
          radiation-jacket


          blog.castellicycling.com online article titled:
          Insolito Radiation Jacket in Test!, captured             SEIRUS00063766-
 1299     August 13, 2017, available at                                  69
          https://blog.castelli-cycling.com/2009/10/14/insolito-
          radiation-jacket-in-test/

          Design for a Textile Fabric - Carl Alfred                SEIRUS00063770-
 1300                                                                    71
          Tips. D130,877
                                                                   SEIRUS00008101-
 1301     ThermaLux Products                                            8102


 1302     Castelli Insolito Radiation Jacket                             N/A


          All Prior Art cited on U.S. Patent 8,424,199
          or in the Prosecution File History for the
 1303     U.S. Patent No. 8,424,119, or on U.S. Patent                   N/A
          8,453,270 or in the Prosecution File History
          for the U.S. Patent No. 8,453,270




                                                                  20
 Case 3:17-cv-01781-HZ Document       312-1 Filed 09/18/17 PageID.12995 Page 21 of 28
                       APPENDIX A ‐ SEIRUS' SIXTH AMENDED TRIAL EXHIBIT LIST



Exhibit
                           Description                             Bates No.      Marked   Offered   Received
 No.

          All Prior Art cited on U.S. Patent D657,093
 1304     or in the Prosecution File History for the                  N/A
          U.S. Patent D657,093

 1305     Product Sample - Seirus HeatWave Zenith                SEIRUS00003478


          Product Sample - Seirus HeatWave Glove
 1306                                                            SEIRUS00003482
          Liner

 1307     Product Sample - Seirus HeatWave Socks                 SEIRUS00003476


          Email correspondence from Haas to Murphy           SEIRUS00025708-
 1308                                                              13
          re Denim Swatches Status

          Email correspondence from Calise to
          Murphy re heat wave screen print Revision          SEIRUS00024282-
 1309                                                              83
          Needed attaching "2012 HEATWAVE
          SCREEN_REVISED 2.pdf"

          Email Correspondence from Murphy to
          Mike Carey, Joe Edwards, Greg Calise, Sean         SEIRUS00026468-
 1310                                                              69
          Carey, Jody Carlson, and David I re
          "HeatWave Print" [Redacted]

          Defendant Seirus Innovative Accessories
          Inc.'s Answer, Defenses, and Counterclaims
 1311                                                                 N/A
          to Complaint for Patent Infringement, dated
          July 15, 2015

          Bikerumor.com article entitled "Castelli's
          New Space Blanket Radiation Jacket",               SEIRUS00063890-
 1312     available at url:                                        95
          https://www.bikerumor.com/2008/11/12/castellis-
          new-space-blanket-radiation-jacket/

                                                             SEIRUS00063896-
 1313     Dravitex Brochure                                        99


 1314     Product Sample - Dravitex                              SEIRUS00063900


          Production Request / HWS Heat Wave                 SEIRUS00006512-
 1315                                                              13
          Zenith Glove (8161)




                                                            21
 Case 3:17-cv-01781-HZ Document       312-1 Filed 09/18/17 PageID.12996 Page 22 of 28
                       APPENDIX A ‐ SEIRUS' SIXTH AMENDED TRIAL EXHIBIT LIST



Exhibit
                          Description                       Bates No.     Marked   Offered   Received
 No.

          cyclingweekly.com product news article
          entitled "Castelli Radiation Jacket £300"     SEIRUS00063901-
 1316     available at url:                                   02
          http://www.cyclingweekly.com/news/product-
          news/castelli-radiation-jacket-300-70187

          Product Sample - 2017 HeatWave Plus
 1317                                                         N/A
          gloves
                                                        SEIRUS00063903-
 1318     U.S. Patent No. 7,086,093 B2                  SEIRUS00063911

                                                        SEIRUS00063912-
 1319     U.S. Patent No. 7,451,496 B2                  SEIRUS00063923


 1320     Impeachment Exhibit

 1321     Impeachment Exhibit

 1322     Impeachment Exhibit

 1323     Impeachment Exhibit

 1324     Impeachment Exhibit

 1325     Impeachment Exhibit

 1326     Impeachment Exhibit

 1327     Impeachment Exhibit

 1328     Impeachment Exhibit

 1329     Impeachment Exhibit

 1330     Impeachment Exhibit

 1331     Impeachment Exhibit

 1332     Impeachment Exhibit

 1333     Impeachment Exhibit




                                                       22
 Case 3:17-cv-01781-HZ Document       312-1 Filed 09/18/17 PageID.12997 Page 23 of 28
                       APPENDIX A ‐ SEIRUS' SIXTH AMENDED TRIAL EXHIBIT LIST



Exhibit
                       Description             Bates No.   Marked   Offered   Received
 No.

 1334     Impeachment Exhibit

 1335     Impeachment Exhibit

 1336     Impeachment Exhibit

 1337     Impeachment Exhibit

 1338     Impeachment Exhibit

 1339     Impeachment Exhibit

 1340     Impeachment Exhibit

 1341     Impeachment Exhibit

 1342     Impeachment Exhibit

 1343     Impeachment Exhibit

 1344     Impeachment Exhibit

 1345     Impeachment Exhibit

 1346     Impeachment Exhibit

 1347     Impeachment Exhibit

 1348     Impeachment Exhibit

 1349     Impeachment Exhibit

 1350     Impeachment Exhibit

 1351     Impeachment Exhibit

 1352     Impeachment Exhibit




                                          23
 Case 3:17-cv-01781-HZ Document       312-1 Filed 09/18/17 PageID.12998 Page 24 of 28
                       APPENDIX A ‐ SEIRUS' SIXTH AMENDED TRIAL EXHIBIT LIST



Exhibit
                         Description                           Bates No.      Marked   Offered   Received
 No.

 1353     Impeachment Exhibit

 1354     Impeachment Exhibit

 1355     Demonstrative Exhibit

 1356     Demonstrative Exhibit

 1357     Demonstrative Exhibit

 1358     Demonstrative Exhibit

 1359     Demonstrative Exhibit

 1360     Demonstrative Exhibit

          UK Patent Application GB 2,350,073 A to        SEIRUS00063924-
 1361                                                    SEIRUS00063947
          Vaughn

 1362     Product Sample - Ventex Swatch                     SEIRUS00063948



          Seirus Innovation Profit and Loss Statement    SEIRUS00063949-
 1363                                                    SEIRUS00063977
          From 10/01/2015 To 09/30/2016

          HeatWave Sales 9-30-2013 through 2-28-         SEIRUS00063978-
 1364                                                    SEIRUS00063980
          2017

          Email Correspondence between Dan
          Fredman, Woody Blackford, Linda Reese
 1365                                                         COL071851-53
          and others Re: Silver, dated 10/14/2009 and
          10/15/2009

          Email Correspondence from Jack Fraser to
 1366     Woody Blackford Re: Technology, dated                COL084105
          2/27/2009

          Giant Knitting Co. 2005 S/S 078 NEW
                                                         SEIRUS00063981-
 1367     TREND Catalog, 3M Scotchlite™                  SEIRUS00064037
          Reflective Material

          Seirus Innovation Profit & Loss Statement      SEIRUS00064041-
 1368                                                    SEIRUS00064064
          From 10/01/2012 to 09/30/2013



                                                        24
 Case 3:17-cv-01781-HZ Document       312-1 Filed 09/18/17 PageID.12999 Page 25 of 28
                       APPENDIX A ‐ SEIRUS' SIXTH AMENDED TRIAL EXHIBIT LIST



Exhibit
                         Description                         Bates No.     Marked   Offered   Received
 No.

          Seirus Innovation Profit & Loss Statement      SEIRUS00064065-
 1369                                                    SEIRUS00064093
          From 10/01/2016 to 2/28/2017

          Seirus International Direct Shipment Detail    SEIRUS00064094-
 1370                                                    SEIRUS00064095
          Spreadsheet 9.1.13-2.28.17

          Kathmandu Ltd. Purchase Order Number           SEIRUS00064096-
 1371                                                    SEIRUS00064097
          PN00402289, dated 9/21/2015

          Heatwave Pricing Spreadsheet - Seasons 13-     SEIRUS00064098-
 1372                                                    SEIRUS00064126
          14, 14-15, 15-16, 16-17

          Seirus Commercial Invoice No. 15SPK001-        SEIRUS00064127-
 1373                                                    SEIRUS00064127
          NZ - Kathmandu - dated 1/22/2015

          Seirus Commercial Invoice No. 15SPK001-        SEIRUS00064128-
 1374                                                    SEIRUS00064128
          AU - Kathmandu - dated 1/22/2015

          Seirus Commercial Invoice No. 15SPK001-        SEIRUS00064129-
 1375                                                    SEIRUS00064129
          UK - Kathmandu - dated 1/22/2015

          Seirus Commercial Invoice - Sales Order #      SEIRUS00064130-
 1376                                                    SEIRUS00064131
          345072 STAR Corporation - dated 8/15/14

          Seirus Commercial Invoice - STAR               SEIRUS00064132-
 1377                                                    SEIRUS00064135
          Corporation - dated 10/5/16

          Seirus Commercial Invoice - STAR               SEIRUS00064136-
 1378                                                    SEIRUS00064137
          Corporation - dated 8/13/14
          Seirus Purchase Order Nos. 411068, 412008,     SEIRUS00064138-
 1379                                                    SEIRUS00064141
          and 412009

 1380     Black Omni-Heat Fabric Sample                      COL030696



 1381     Black Omni-Heat Fabric Sample                      COL030701


 1382     Blue Omni-Heat Fabric Sample                       COL030700


          Email from Blackford to Fredman re:
 1383     Graphic for Reflective Lining, dated               COL071411
          2/1/2009

 1384     Zachary Snyder Deposition Exhibit 19

 1385     Matt Merriman Deposition Exhibit 14


                                                        25
 Case 3:17-cv-01781-HZ Document       312-1 Filed 09/18/17 PageID.13000 Page 26 of 28
                       APPENDIX A ‐ SEIRUS' SIXTH AMENDED TRIAL EXHIBIT LIST



Exhibit
                         Description                         Bates No.      Marked   Offered   Received
 No.

          Email correspondence from Hoeferlin to
 1386     Blackford re Omni Heat Lab Test report to         COL076501-502
          support the claim


          Email correspondence from Blackford re
 1387                                                       COL099074-79
          Total Quickness. Max Warmth.


          Email correspondence from Blackford to
 1388     Shea, Mergy, Hoeferlin, and Norum re: OH          COL103556-58
          validation

          July 15, 2015 ORDER - Columbia
 1389     Sportswear v Duvet Comfort Inc., doing            COL107405-08
          business as Outdoor Survival Canada

          April 2016 Settlement Agreement and
 1390     Mutual Release between Columbia                   COL107425-45
          Sportswear and Team Ortho Foundation

          June 19, 2015 Settlement Agreement and
          rlease between Columbia Sportswear and CS
 1391                                                       COL107446-54
          Finance Limited Partnership and Duvet
          Comfort Inc.

          Columbia Sportswear's Answer to Seirus
 1392
          Innovative Accessories' Counterclaims
                                                        SEIRUS00023852-
 1393     Seirus Invoice #412906-14060215                    854

          Email correspondence from Hoeferlin to
 1394     Keenan, Brown, Obrien, Fry, Yoo, Jenkins           COL075335
          re: New development xylitol mesh


          Email correspondence from Hoeferlin to
          Gipson, Yoo, Brown, Shindler, Saxena,
 1395                                                       COL087021-023
          Scheiff, Jenkins FW: technology strategies
          for Spring 12


          Email correspondence from Edwards to
 1396     Murphy re: Important question: Heatwave       SEIRUS00029964
          Print



                                                       26
 Case 3:17-cv-01781-HZ Document       312-1 Filed 09/18/17 PageID.13001 Page 27 of 28
                       APPENDIX A ‐ SEIRUS' SIXTH AMENDED TRIAL EXHIBIT LIST



Exhibit
                          Description                            Bates No.      Marked   Offered   Received
 No.

          Email correspondence from Blackford to
 1397                                                           COL084268-69
          Elser, Snyder re: dots hot


          Email correspondence from Boyle to
 1398     Blackford, Elser, Snyder, McCormick,                  COL084281-82
          Hoeferlin re: dots hot


          Email correspondence from Blackford to
 1399                                                           COL084286-88
          Elser, McCormick, Boyle, Snyder re: dots ho


          Email correspondence from Blackford to
 1400                                                           COL084320-23
          Hoeferlin re: dots ho

          OMNI-HEAT - Fall 2010 Megaspread
 1401                                                           COL042611-22
          layout and copy 04.29.10

          OMNI-HEAT - Fall 2010 Single-Page Print
 1402                                                           COL042649-58
          04.16.10

          Declaration of Michael "Woody" Blackford
          in support of Columbia Sportswear's
 1403     Response to Seirus' Motion to Dismiss or,
          alternatively, transfer venue to the Southern
          District of California, filed March 16, 2015


          Product Sample - Desconstructed Seirus
 1404
          Heatwave Daze Gloves

          Smith, Betty F. and Block, Ira. "Chapter 2:
          Consumer Decision Making." Textiles in
 1405
          Perspective . Englewood Cliffs, N.J.:
          Prentice-Hall, 1982. Pgs. 17-30. Print.

          Product Sample - Seirus HEATTOUCH
 1406
          Torche Gloves

 1407     Product Sample - Seirus HeatWave fabric              SEIRUS00011442

                                                           SEIRUS00011388-
 1408     Seirus MegaHeat Ventex Presentation                   407

          Product Sample - Seirus HeatWave Echelon
 1409                                                          SEIRUS00003485
          Gloves



                                                          27
 Case 3:17-cv-01781-HZ Document       312-1 Filed 09/18/17 PageID.13002 Page 28 of 28
                       APPENDIX A ‐ SEIRUS' SIXTH AMENDED TRIAL EXHIBIT LIST



Exhibit
                        Description                          Bates No.      Marked   Offered   Received
 No.

          Columbia Sportswear Company 2010 Form
 1410                                                      COL027427-509
          10-k

          Columbia Sportswear Company 2016
 1411
          Annual Report Form 10-k
          Product Sample - Seirus HeatWave ZENITH
 1412                                                      SEIRUS00003479
          Mitt
          Product Sample - Seirus HeatWave SPIRAL
 1413
          Glove
          Product Sample - Seirus HeatWave Ms
 1414
          BEHAVE Glove
          Product Sample - Seirus HeatWave
 1415
          CORNICE Glove
          Product Sample - Seirus HeatWave ZENITH
 1416
          Glove
          Product Sample - Seirus HeatWave BURST
 1417
          Glove
          Product Sample - Seirus HeatWave ALL
 1418
          WEATHER Glove
          Product Sample - Seirus HeatWave Skull
 1419                                                      SEIRUS00011447
          Liner
          Product Sample - Seirus HeatWave Sock
 1420                                                      SEIRUS00003477
          Liner
          Product Sample - Seirus HeatWave Sock
 1421
          Liner (Silver)
          Product Sample - Seirus Heatwave 4-Way
 1422                                                      SEIRUS00011443
          Base Material HLT-6610-R
          Product Sample - Seirus HeatWave Original
 1423
          ALL WEATHER Glove

 1424     Fabric Sample - Thermalux

          Product Sample - Seirus Heatwave 4-Way
 1425                                                      SEIRUS00011444
          Base Material HLT-6610-R-RX
          Product Sample - Seirus HeatWave Glove
 1426                                                      SEIRUS00003483
          Liner
          Product Sample - Seirus HeatWave Skull
 1427
          Liner
          Product Sample - Seirus HeatWave Glove
 1428                                                      SEIRUS00011448
          Liner


                                                      28
